                                                                                   THIS ORDER IS APPROVED.


FORM eoosc                                                                         Dated: November 9, 2017
REVISED 12/01/2015




                                                                                   _________________________________
                                                                                   Scott H. Gan, Bankruptcy Judge




                           UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF ARIZONA

In re:                                                       Case No.: 4:17−bk−13309−SHG

    DESERT VALLEY STEAM CARPET CLEANING                      Chapter: 7
    LLC
    108 E 8th ST
    ELOY, AZ 85131
    SSAN:
    EIN: 04−3824931

Debtor(s)


                                          ORDER TO SHOW CAUSE

   A voluntary petition was filed by debtor, a corporation, partnership, LLC, LLP, trust or other artificial entity,
without counsel.

   Unincorporated associations, partnerships and corporations must appear through an attorney. Rowland v.
California Men's Colony, 506 U.S. 194, 201, 113 S. Ct. 716, 721, 121 L.Ed. 2d 656 (1993); C.E. Pope Equity Trust v.
United States, 818 F.2d 696, 697−698 (9th Cir. 1987); Church of the New Testament v. United States, 783 F.2d 771,
773−774 (9th Cir. 1986); In re Highley, 459 F.2d 554, 555−556 (9th Cir. 1972). See also In re Victor Publishers, Inc.,
545 F.2d 285 (1st Cir. 1976); Eagle Associates v. Bank of Montreal, 926 F.2d 1305 (2nd Cir. 1991); In re America
West Airlines, Inc., 164 B.R. 315 (9th Cir. BAP 1994); Move Organization v. United States Department of Justice,
555 F. Supp. 684, 693 (E.D. Pa. 1983)

   IT IS ORDERED the debtor shall show cause, if any it has, why this case should not be dismissed for lack of
counsel on Wednesday, December 13, at 1:30 p.m. at the U.S. Bankruptcy Court at the following location:

                                  230 North First Avenue, Courtroom No. 301, Phoenix AZ

                                  38 South Scott Avenue, Courtroom No. 329, Tucson AZ

                                  98 West First Street, Courtroom 1, Yuma AZ

                                  101 W. Goodwin St., 2nd Floor, Prescott AZ

                                  123 N San Francisco St., Flagstaff, AZ

                                  2225 Trane Rd., Courtroom R, Bullhead City, AZ


DATED AND SIGNED ABOVE




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